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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION



UNITED STATES OF AMERICA


vs.                                        NO. 4:01CR00098-001S SWW


VICTOR GARRETT

                                           ORDER

         The above entitled cause came on for hearing on government’s motion to

revoke the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.                 Based upon the

statements of counsel and the testimony of witnesses, the Court found that

defendant has violated the conditions of his supervised release without just

cause.

         IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked granting government’s

motions    [docs   #474   and   #490];   and   that   defendant   shall   serve   a   term   of

imprisonment of FIFTY-SEVEN (57) MONTHS in the custody of the Bureau of Prisons.

The Court recommends that defendant be incarcerated at FCI, Forrest City,

Arkansas.

         There will be NO supervised release to follow.

         IT IS FURTHER ORDERED that defendant remain in the custody of the U. S.

Marshal for transport to the designated facility to begin the service of the

sentence imposed.

         IT IS SO ORDERED this 21st day of September 2009.



                                                   /s/Susan Webber Wright

                                                   United States District Judge
